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Model Plan
12/1/2011                                                                                    Trustee:   Marshall    Meyer   Stearns   Vaughn
                                                 United States Bankruptcy Court
                                                   Northern District of Illinois

IN RE:                                                                                          Case No.
Caraballo, Felipe J. Jr.                                                                        Chapter 13
                                           Debtor(s)
                                                        CHAPTER 13 PLAN
                                                           Original Chapter 13 Plan       Modified Chapter 13 Plan, dated                  .

  A check in this box indicates that the plan contains special provisions, set out in Section G. Otherwise, the plan includes no
provisions deviating from the model plan adopted by the court at the time of the filing of this case.
Section A        1. As stated in the debtor’s Schedule I and J, (a) the number of persons in the debtor’s household is 5; (b) their ages
Budget           are 27, 24, 8, 4, 3; (c) total household monthly income is $ 3,321.76; and (d) total monthly household expenses are $
Items            2,975.00; leaving $ 346.76 available monthly for plan payments.

                 2. The debtor’s Schedule J includes $ 0.00 for charitable contributions; the debtor represents that the debtor made
                 substantially similar contributions for    months prior to filing this case.

Section B        1. The debtor assumes only the unexpired leases and executory contracts listed in Schedule G of this plan; all other
General          unexpired leases and executory contracts are rejected. Both assumption and rejection are effective as of the date of
provisions       plan confirmation.

                 2. Claims secured by a mortgage on real property of the debtor, set out in Section C or in Paragraph 2 of Section E of
                 this plan, shall be treated as follows:

                 (a) Prepetition defaults. If the debtor pays the cure amount specified in Paragraph 5 of Section E, while timely
                 making all required postpetition payments, the mortgage will be reinstated according to its original terms,
                 extinguishing any right of the mortgagee to recover any amount alleged to have arisen prior to the filing of the
                 petition.

                 (b) Costs of collection. Costs of collection, including attorneys’ fees, incurred by the holder after the filing of this
                 bankruptcy case and before the final payment of the cure amount specified in Paragraph 5 of Section E may be added
                 to that cure amount pursuant to order of the court on motion of the holder.

                 3. The holder of any claim secured by a lien on property of the estate, other than a mortgage treated in Section C or
                 in Paragraph 2 of Section E, shall retain the lien until the earlier of (a) payment of the underlying debt determined
                 under nonbankruptcy law, or (b) discharge under 11 U.S.C. § 1328, at which time the lien shall terminate and be
                 released by the creditor.

                 4. The debtor shall retain records, including all receipts, of all charitable donations listed in Schedule J.
Section C         The debtor will make no direct payments to creditors holding prepetition claims. /or/
Direct payment    The debtor will make current monthly payments, as listed in the debtor’s Schedule J - increased or decreased as
of claims by   necessary to reflect changes in variable interest rates, escrow requirements, collection costs, or similar matters -
debtor         directly to the following creditors holding claims secured by a mortgage on the debtor’s real property:

                 Creditor: None, monthly payment, $

                 If this box is   checked, additional direct mortgage payments are listed on the overflow page.

Section D        1. Initial plan term. The debtor will pay to the trustee $ 346.00 monthly for 36 months [and $
Payments by      monthly for an additional       months], for total payments, during the initial plan term, of $ 12,456.00. [Enter this
debtor to the    amount on Line 1 of Section H.]
trustee;
plan term and    2. Adjustments to initial term. If the amount paid by the debtor to the trustee during the initial plan term does not
completion       permit payment of general unsecured claims as specified in Paragraphs 8 and 9 of Section E, then the debtor shall
                 make additional monthly payments, during the maximum plan term allowed by law, sufficient to permit the specified
                 payments.
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                 3. Plan completion. The plan will conclude before the end of the initial term, as adjusted by Paragraph 2,
                 only at such time as all allowed claims are paid in full, with any interest required by the plan /or/

                    The plan will conclude before the end of the initial term at any time that the debtor pays to the trustee the
                 full amounts specified in Paragraphs 1 and 2.

Section E      The trustee shall disburse payments received from the debtor under this plan as follows:
Disbursements
by the trustee 1. Trustee’s fees. Payable monthly, as authorized; estimated at 5.00% of plan payments; and during the initial plan
               term, totaling $ 622.80. [Enter this amount on Line 2a of Section H.]

                 2. Current mortgage payments. Payable according to the terms of the mortgage, as set forth below, beginning with
                 the first payment due after the filing of the case. Each of these payments shall be increased or decreased by the
                 trustee as necessary to reflect changes in variable interest rates, escrow requirements, or similar matters; the trustee
                 shall make the change in payments as soon as practicable after receipt of a notice of the change issued by the
                 mortgage holder, but no later than 14 days after such receipt. The trustee shall notify the debtor of any such change at
                 least 7 days before putting the change into effect. Any current mortgage payment made by the debtor directly to the
                 mortgagee shall be deducted from the amounts due to be paid to the trustee under this plan.

                 (a) To creditor None, monthly payments of $ .
                       These payments, over the term of the plan, are estimated to total $ .

                 If this box   is checked, additional current mortgage payments are listed on the overflow page.

                 The total of all current mortgage payments to be made by the trustee under the plan is estimated to be $ 0.00. [Enter
                 this amount on Line 2b of Section H.]

                 3.1. Other claims secured by value in collateral. All secured claims, other than mortgage claims treated above and
                 claims treated in Paragraph 3.2, are to be paid in full during the plan term, with interest at the annual percentage rates
                 and in the fixed monthly amounts specified below regardless of contrary proofs of claim(subject to reduction with the
                 consent of the creditor):

                 (a) Creditor: None Collateral:
                 Amount of secured claim: $ APR % Fixed monthly payment: $ ;

                 Total estimated payments, including interest, on the claim: $ .     Check if non-PMSI

                 If this box is checked, additional secured claims are listed on the overflow page. [All claims in the debtor’s
                 Schedule D, other than mortgages treated above and claims for which the collateral has no value, must be listed in
                 this paragraph.]

                 The total of all payments on these secured claims, including interest, is estimated to be $ 0.00. [Enter this amount on
                 Line 2c of Section H.]

                 3.2. Other secured claims treated as unsecured. The following claims are secured by collateral that either has no
                 value or that is fully encumbered by liens with higher prioirty. No payment will be made on these claims on account
                 of their secured status, but to the extent that the claims are allowed, they will be paid as unsecured claims, pursuant
                 to Paragraphs 6 and 8 of this section.

                 (a) Creditor:_________________ Collateral:___________________________

                 (b) Creditor:_________________ Collateral:___________________________

                 If this box   is checked, additional claims covered by this paragraph are listed on the overflow page.

                 4. Priority claims of debtor’s attorney. Payable in amounts allowed by court order. The total claim of debtor’s
                 attorney is estimated to be $ 3,161.00. [Enter this amount on Line 2d of Section H.]

                 5. Mortgage arrears. Payable as set forth below, regardless of contrary proofs of claim, except that the arrears
                 payable may be reduced either with the consent of the mortgagee or by court order, entered on motion of the debtor
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               with notice to the trustee and the mortgagee. Any such reduction shall be effective 14 days after either the trustee's
               receipt of a notice of reduction consented to by the mortgagee or the entry of a court order reducing the arrearage.

               (a) To creditor None, arrears of $ , payable monthly from available funds, pro rata with other mortgage arrears,
                without interest /or/ with interest at an annual percentage rate of %.
               These arrearage payments, over the term of the plan, are estimated to total $ .


               If this box is checked, additional mortgage arrearage payments are listed on the overflow page.
               The total of all mortgage arrearage payments to be made by the trustee under the plan is estimated to be $ 0.00.
               [Enter this amount on Line 2e of Section H.]

               6. Allowed priority claims other than those of the debtor’s attorney. Payable in full, without interest, on a pro rata
               basis. The total of all payments on non-attorney priority claims to be made by the trustee under the plan is estimated
               to be $ 0.00. [Enter this amount on Line 2f of Section H.] Any claim for which the proof of claim asserts both
               secured and priority status, but which is not identified as secured in Paragraphs 2, 3.1, or 3.2 of this section, will be
               treated under this paragraph to the extent that the claim is allowed as a priority claim.

               7. Specially classified unsecured claim. A special class consisting of the following non-priority unsecured claim:
                                                                         shall be paid at        % of the allowed amount. The total
               of all payments to this special class is estimated to be $                  . [Enter this amount on Line 2g of Section
               H.]

               Reason for the special class:                                                          .

               8. General unsecured claims (GUCs). All allowed nonpriority unsecured claims, not specially classified, including
               unsecured deficiency claims under 11 U.S.C. § 506(a), shall be paid, pro rata,        in full, /or / to the extent
               possible from the payments set out in Section D, but not less than 29.55% of their allowed amount. [Enter minimum
               payment percentage on Line 4b of Section H.] Any claim for which the proof of claim asserts secured status, but
               which is not identified as secured in Paragraphs 2, 3.1, or 3.2 of this section, will be treated under this paragraph to
               the extent that the claim is allowed without priority.

               9. Interest. Interest shall not be paid on unsecured claims /or/      interest shall be paid on unsecured claims,
               including priority and specially classified claims, at an annual percentage rate of          % [Complete Line 4d of
               Section H to reflect interest payable.]

Section F      The trustee shall pay the amounts specified in Section E of this Plan in the following order of priority, with claims in
Priority       a given level of priority reduced proportionately in the event of insufficient plan payments: (1) trustee’s fee; (2)
               current mortgage payments; (3) secured claims listed in Section E, Paragraph 3.1; (4) priority claims of the debtor’s
               attorney; (5) mortgage arrears; (6) priority claims other than those of the debtor’s attorney; (7) specially classified
               non-priority unsecured claims; and (8) general unsecured claims.

Section G      Notwithstanding anything to the contrary set forth above, this Plan shall include the provisions set forth in the box
Special        following the signatures. The provisions will not be effective unless there is a check in the notice box preceding
terms          Section A.

Section H
               (1) Total payments from the debtor to the Chapter 13 trustee                                          $         12,456.00
Summary of
                    (subject to Paragraph 2 of Section D)
payments to
and from the
               (2) Estimated disbursements by the trustee for non-GUCs (general unsecured claims):
trustee
                    (a) Trustee’s fees                                                      $                  622.80
                    (b) Current mortgage payments                                           $                    0.00
                    (c) Payments of other allowed secured claims                            $                    0.00
                    (d) Priority payments to debtor’s attorney                              $                3,161.00
                    (e) Payments of mortgage arrears                                        $                    0.00
                    (f) Payments of non-attorney priority claims                            $                    0.00
                    (g) Payments of specially classified unsecured claims                   $                    0.00
                    (h) Total [add Lines 2a through 2g]                                                              $          3,783.80

               (3) Estimated payments available for GUCs and interest during initial plan term
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                        [subtract Line 2h from Line 1]                                                               $          8,672.20

                  (4) Estimated payments required after initial plan term:
                       (a) Estimated total GUC’s, including unsecured deficiency
                            claims under § 506(a)                                                  $         29,350.00
                       (b) Minimum GUC payment percentage                                                      29.55%
                       (c) Estimated minimum GUC payment                                           $          8,672.20
                            [multiply line 4a by line 4b]
                       (d) Estimated interest payments on unsecured claims                         $              0.00
                       (e) Total of GUC and interest payments                                      $          8,672.20
                            [add Lines 4c and 4d]
                       (f) Payments available during initial term [enter Line 3]                   $          8,672.20
                       (g) Additional payments required                                                              $              0.00
                            [subtract Line 4f from Line 4e]

                  (5) Additional payments available:
                       (a) Debtor’s monthly payment less trustee’s fees and
                            current mortgage payments made by the trustee                          $               N/A
                       (b) Months in maximum plan term after initial term                                          N/A
                       (c) Payments available [multiply line 5a by line 5b]

                                                                                                                     $               N/A
Section I          A check in this box indicates that the debtor consents to immediate entry of an order directing the debtor’s
                employer to deduct from the debtor’s wages the amount specified in Paragraph 1 of Section D and to pay that
Payroll Control
                amount to the trustee on the debtor’s behalf. If this is a joint case, details of the deductions from each spouse’s wages
                are set out in Section G.

Signatures:

Dated:


                                                                       Signature of Debtor
/s/ Timothy K. Liou
Signature of Attorney

                                                                       Signature of Spouse (if applicable)

Attorney Information (name, address, telephone, etc.)
Liou Law Firm
900 West Washington Boulevard
Chicago, IL 60607-2298
(312) 474-7000

                                            Special Terms [as provided in Paragraph G]
The Chapter 13 trustee shall not pay claims filed after the bar date(s) listed in the Notice of Commencement of Case.

The allowed priority fees of Debtor's Attorney shall be paid after payments provided for under Section E(2) of the plan, but
before payments provided for under Section E(3) of the plan.
